     Case 2:16-cv-00287-cr Document 252 Filed 06/18/20 Page 1 of 12




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF VERMONT


GARRET SITTS, et al.,

      Plaintiffs,

v.                                        Civil Action No. 2:16-cv-00287-cr

 DAIRY FARMERS OF AMERICA, INC. and
 DAIRY MARKETING SERVICES, LLC,

      Defendants.


DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND DAIRY MARKETING
  SERVICES, LLC’S REPLY IN SUPPORT OF MOTION IN LIMINE NO. 4: TO
   PRECLUDE ARGUMENT OR EVIDENCE OF DFA’S CONDUCT AND/OR
          DECISION-MAKING OUTSIDE OF THE NORTHEAST
          Case 2:16-cv-00287-cr Document 252 Filed 06/18/20 Page 2 of 12




     Plaintiffs’ Opposition sidesteps the fundamental basis of Dairy Farmers of America LLC’s

(“DFA”) motion to exclude evidence of its purely national organization. Plaintiffs do not even try

to explain how things like DFA’s national corporate income, commercial operations, expenditures,

and executive compensation could establish that DFA engaged in a conspiracy to suppress milk

prices only in Order 1 but not in other geographic regions of the country. That is because they

cannot. Plaintiffs’ theory of the case—i.e., that DFA conspired to lower farmer pay prices in Order

1 but not elsewhere—is fundamentally at odds with evidence about the things that DFA does on a

nationwide basis. The same conduct cannot be just fine in, say, Orders 6, 30, 32, and elsewhere,

but somehow evidence a conspiracy or “motive” to suppress pay prices in Order 1. Because this

purely national information has nothing to do with the regional theory that plaintiffs are pursuing,

they clearly have an ulterior motive for wanting to introduce it: they want to confuse the jury

about how milk marketing actually works in this country, prejudice the jury against DFA for being

a large organization, or both. All of this information is inadmissible under both Federal Rules of

Evidence 402 and 403.

I.   PLAINTIFFS CONCEDE THAT EVIDENCE OF DFA’S NATIONAL
     ORGANIZATION IS IRRECONCILABLE WITH THEIR THEORY OF THE CASE

       A.      DFA’s National Level Operations Cannot Explain DFA’s Motive To Violate
               The Antitrust Laws In Order 1 But Not Elsewhere

     Plaintiffs do not dispute that their entire case depends on the idea that DFA engaged in a

conspiracy to suppress farmer pay prices and obtain a monopsony in Order 1, but did not do so

anywhere else in the country. Indeed, plaintiffs’ only “evidence” that DFA suppressed farmer pay

prices in Order 1—a required element of their Sherman Act claims—is a number their expert

purportedly reached by comparing pay prices in Order 1 (where plaintiffs allege a conspiracy) to
          Case 2:16-cv-00287-cr Document 252 Filed 06/18/20 Page 3 of 12




pay prices in Order 32, where plaintiffs insist there was no antitrust violation.1 The importance of

this fact cannot be overstated. Plaintiffs’ whole theory of the case depends on the fact that DFA

did not violate the antitrust laws nationally (and especially not in Order 32).

     Plaintiffs’ decision to structure their case this way has consequences for the upcoming trial.

Plaintiffs’ Opposition proves the point. Plaintiffs say that evidence of DFA’s national operations,

corporate wealth, and expenditures (including but not limited to expenditures for executive

compensation) is relevant because it demonstrates, as a general matter, that DFA had an incentive

to suppress farmer pay prices and bolster corporate profits at farmers’ expense. But that argument

goes nowhere.2 Evidence of DFA’s national organization and decision-making can only plausibly

support plaintiffs’ claims if it tends to indicate that DFA was motivated to suppress farmer pay

prices in Order 1 but not in other geographic regions like Order 32, where, ironically, DFA has its

national headquarters. The evidence here does no such thing; in fact, quite the opposite.

     DFA’s motion seeks specifically to exclude evidence and argument relating to DFA’s

national operations, national wealth, and national expenditures that plaintiffs have put at the




1
        Ex. 1, Expert Rpt. of Einer R. Elhauge ¶ 53, Oct. 3, 2018 (“Elhauge Initial Rpt.”) (“The
relevant geographic market is the raw milk pooled in the Northeastern area defined by Federal
Milk Marketing Order 1.”) (exhibits referenced herein refer to the May 19, 2020 Declaration of
Alfred C. Pfeiffer Jr. , ECF No. 205); id. ¶ 4 (“Defendants have engaged in a multifaceted
conspiracy with processors and other cooperatives to reduce competition, acquire monopsony
power, and suppress raw milk prices in the market for raw milk sales in Order 1.”); id. ¶ 234
(arguing that plaintiffs can “demonstrate the effect of the alleged conduct [in Order 1] on raw
milk prices” in Order 1 by comparing “prices or margins in the violation market [to] prices
or margins in related non-violation markets” (emphasis added) (citation omitted)); id.
(comparing over-order premiums in Order 1 with over-order premiums in Order 32, which
includes parts of Illinois, Iowa, Nebraska, South Dakota, Colorado, Kansas, Missouri and
Oklahoma); id. ¶¶ 236-37, 241 (arguing that Order 32 is the appropriate yardstick because “it is
not alleged to have suffered from collusive conduct”) (emphasis added).
2
       In any event, it is simply false that DFA ever possessed such a motive. DFA’s operations
and expenditures are designed to increase the size of the milk check, not diminish it.


                                                  2
          Case 2:16-cv-00287-cr Document 252 Filed 06/18/20 Page 4 of 12




forefront of their case. This includes but is not limited to evidence relating to the size of DFA’s

national corporate income; the extent of DFA’s national commercial operations; the cost of DFA’s

national headquarters in Kansas City; the amount of money DFA spends on overhead and

administrative costs for its national organization; the amount of DFA’s executive compensation

for top employees; and the distribution of patronage dividends across the entirety of DFA’s

national organization.3 None of this evidence explains an alleged economic motivation to suppress

farmer pay prices only in Order 1; as plaintiffs concede, this evidence relates to facts at the national

level or in other geographic regions where DFA’s members live, farm, and own processing plants.

Plaintiffs have never even articulated a cogent rationale for why this non-Order 1 evidence would

tend to show an Order 1 specific conspiracy.

      Nor does it matter, as plaintiffs argue, that DFA’s commercial operations are run at a national

level (a fact DFA never disputes), or that DFA entered into supply agreements with certain

processor customers that covered multiple areas of the country, including Order 1. See Opp’n to

Mot. in Limine No. 4 at 5-7, ECF No. 226 (“Opp’n”). To the extent this evidence could explain

any of DFA’s “economic motives” with respect to farmer pay prices (and it cannot), it could only




3
        Contrary to plaintiffs’ assertion, DFA’s motion properly identified the evidence that DFA
requests that the Court exclude for purposes of this Motion. See Motion in Limine No. 4 at 4-5 &
nn. 5-9, 11, ECF No. 204 (identifying the evidence in Plaintiffs Statement of Disputed Fact
paragraphs 102-105, 114 and accompanying notes, for exclusion). Among other things, this
evidence includes: DFA’s expenditures for and the features of its national corporate headquarters
located in Kansas City; the compensation of DFA’s national-level executives and employees who
are based in Kansas City and elsewhere outside of Order 1 and who currently have little day-to-
day role in DFA’s local operations in the Northeast; the corporate overhead and administrative
costs of DFA’s national organization; the yearly income and accounting of DFA’s national
commercial organization; and the calculation and distribution of patronage dividends across the
entirety of DFA’s national organization.

                                                   3
            Case 2:16-cv-00287-cr Document 252 Filed 06/18/20 Page 5 of 12




demonstrate incentives that existed for DFA everywhere and in all areas where it does business –

which is directly contrary to plaintiffs’ chosen Order 1 theory.

     Plaintiffs are thus left with a problem they cannot resolve: their only argument for the

relevance of evidence concerning DFA’s national organization sits fundamentally at odds with the

theory upon which their case depends—that DFA did not conspire or violate the Sherman Act on

a national level (or in the geographic area where its national headquarters are located). Plaintiffs

apparently ask the Court to simply overlook this contradiction and let them have it both ways at

trial. The Court should not do so. If plaintiffs intend to prove that DFA’s conduct resulted in an

anticompetitive effect in Order 1 by comparing Order 1 pay prices to pay prices in a “non-

violation” market—i.e., the Midwest geographic region covered by Order 32—they cannot rely

upon “evidence” of DFA’s alleged “motive” to engage in a conspiracy in Order 1 that directly

conflicts with that theory, or worse, invites the jury to engage in rampant speculation about why

DFA would be motivated to violate the antitrust laws in Order 1 only.4 Because plaintiffs’ efforts

to rely on evidence relating to DFA’s national organization cannot be reconciled with their

proposed geographic market, proof of impact, and theory of an anticompetitive effect in Order 1,

the Court should exclude this evidence as irrelevant to any issue in this case.

       B.       Plaintiffs’ Argument For The Admissibility Of DFA’s National Evidence Is At
                Odds With The Law

     Plaintiffs’ argument for the admissibility of DFA’s national-level evidence is also

unsupported by the law. According to plaintiffs, evidence of DFA’s national organization should

be admitted, regardless of whether it pertains specifically to the relevant geographic market in this

case (or conforms to plaintiffs’ alleged proof of competitive injury and impact), because it explains

DFA’s motive, writ large, to suppress farmer pay prices irrespective of location. But plaintiffs do


4
       See Ex. 1, Elhauge Initial Rpt. ¶¶ 234, 236-37, 241, ECF No. 205.


                                                 4
          Case 2:16-cv-00287-cr Document 252 Filed 06/18/20 Page 6 of 12




not cite a single case in support of this argument. This is for good reason. Evidence of a party’s

conduct outside the relevant geography often will be theoretically relevant to that party’s motives,

intent, and course of conduct in an antitrust case. Yet courts consistently draw the line at admitting

evidence outside of the appropriate geographic market in complex antitrust actions like this one.

See generally Motive Parts Warehouse v. Facet Enters., 774 F.2d 380, 397 (10th Cir. 1985)

(concluding that district court erred by permitting a party to introduce evidence of the opposing

party’s conduct outside of the relevant geographic market for the case); cf. State of New York v.

Deutsche Telekom AG, 419 F. Supp. 3d 783, 787-88 (S.D.N.Y. 2019) (excluding evidence of

defendant’s conduct outside of the relevant geographic market for the case because such evidence

would result in time-consuming mini-trials and undue delay that outweighed the evidence’s

probative value); Connecticut Ironworkers Emp’rs Ass’n v. New England Reg’l Council of

Carpenters, 324 F. Supp. 3d, 293, 312 (D. Conn. 2018) (warning that plaintiffs inexplicably sought

to rely on evidence of defendant’s business from outside the geographic market that plaintiffs

alleged in the case). In doing so, courts have repeatedly recognized the risk of jury confusion and

undue prejudice that could arise from the introduction of such evidence, and found that these risks

outweighed any probative value. Plaintiffs never address these cases in their opposition, nor do

they cite a single case to the contrary. Because the principles expressed by the case law apply

equally here, the Court should grant DFA’s motion.

II.   THE LAW PRECLUDES PLAINTIFFS’ ARGUMENT THAT DFA DID NOT
      OPERATE FOR THE MUTUAL BENEFIT OF ITS MEMBERS UNDER THE
      CAPPER VOLSTEAD ACT

      Plaintiffs’ fallback position is even more untenable. According to plaintiffs, evidence

relating to DFA’s national organization and conduct is also relevant to this case because it “directly

refute[s] any contention by DFA that it acts for the mutual benefit of its members” pursuant to the

Capper-Volstead Act. Opp’n at 6. Plaintiffs apparently believe that they can ask the jury to strip


                                                  5
          Case 2:16-cv-00287-cr Document 252 Filed 06/18/20 Page 7 of 12




DFA’s 14,000-plus farmer-members of their Capper-Volstead Act immunity—upon which they

depend to market their milk—on the basis of plaintiffs’ subjective judgment about the wisdom of

DFA’s business decisions, and whether those business decisions benefitted farmers. But this novel

legal theory—which plaintiffs have pushed repeatedly in their filings and upon which plaintiffs

base much of their case—finds no home in the law. To the contrary, as DFA’s related Motion In

Limine No. 9 To Preclude Evidence And Argument That DFA Is Not An Agricultural Cooperative

Operated For The Mutual Benefit Of Its Members Under The Capper-Volstead Act, ECF No. 234,

explains at length, in the nearly 100 years that have passed since Congress enacted the Capper-

Volstead Act, no court has so much as hinted that a duly-formed agricultural cooperative, operated

for the purpose of handling, processing, preparing for market, and marketing its members’ farm

products, can be stripped of the Capper-Volstead Act’s protections by faulting management’s

business judgment or the operations of its national organization. See id. at 2. The “mutual benefit”

provision in the Capper-Volstead Act instead requires an objective inquiry into an association’s

structure, and exists to ensure the Act only protects agricultural associations that are organized

according to objective cooperative principles, rather than corporations where profits inure to

stockholders. Id. at 3, 4-11.

      Plaintiffs’ attempt to transform the “mutual benefit” provision from an objective inquiry into

a subjective and open-ended assessment of a cooperative’s business decisions is unprecedented

and unworkable, and any such approach would harm the very farmers Congress intended to

protect. Id. Because plaintiffs’ theory that evidence of DFA’s national organization proves that

DFA did not operate for the mutual benefit of its members for Capper-Volstead Act purposes is

wholly unsupported by any legal precedent, anywhere, it cannot be submitted to the jury at all—




                                                 6
         Case 2:16-cv-00287-cr Document 252 Filed 06/18/20 Page 8 of 12




much less provide any justification for the admissibility of evidence relating to DFA’s national

conduct. Id.

III. EVIDENCE OF DFA’S SIZE, WEALTH, AND EXECUTIVE COMPENSATION
     SHOULD BE EXCLUDED UNDER RULE 403

      Plaintiffs are also wrong that evidence of DFA’s size, wealth, and executive compensation

is admissible under Federal Rule of Evidence 403. Evidence of corporate wealth and executive

compensation only survives scrutiny under Rule 403 when that evidence has some rational ability

to prove some fact of importance, and otherwise logically supports the plaintiffs’ theory of the

case. None of the cases cited by plaintiffs suggests otherwise. See Opp’n at 8-10 (citing cases).

But that is not the case here, where plaintiffs have no explanation why DFA’s national-level

conduct explains why DFA engaged in a conspiracy in Order 1 (but not elsewhere). Absent any

plausible claim that this evidence is relevant, plaintiffs do not contest that DFA’s organizational

wealth or the compensation of its employees can only serve to prejudice DFA and inflame the jury.

This is precisely what Rule 403 prohibits. See, e.g., In re Vioxx Prods. Liab. Litig., No. MDL

1657, 2005 WL 3164254, at *1 (E.D. La. Nov. 21, 2005) (granting defendant’s motion in limine

to exclude evidence of defendant Merck’s assets and profitability, and its employees’

compensation and financial decisions, as irrelevant and unduly prejudicial); Kinsey v. Cendant

Corp., 588 F. Supp. 2d 216, 517-18 (D.P.R. 2008) (granting motion to bar evidence of party’s

compensation package); L-3 Commc’ns Corp. v. OSI Sys., Inc., No. 02 Civ. 9144 (PAC), 2006 WL

988143, at *6 (S.D.N.Y. Apr. 13, 2006) (granting motion to bar evidence of “wealth and lifestyle”

of defendant’s CEO because evidence was irrelevant and unfairly prejudicial).

      Because evidence regarding the size of DFA’s annual income and retained earnings,

administrative expenditures, and employee compensation would be enormously and unfairly




                                                7
          Case 2:16-cv-00287-cr Document 252 Filed 06/18/20 Page 9 of 12




prejudicial to DFA, while lacking any plausible relevance for plaintiffs’ Order 1-specific claims,

all such evidence and argument should be excluded pursuant to Rule 403.

IV. PLAINTIFFS ARE WRONG THAT THE COURT ALREADY ADMITTED
    EVIDENCE OF DFA’S NATIONAL ORGANIZATION FOR TRIAL

      In lieu of valid arguments for why evidence of DFA’s national organization is admissible at

trial, plaintiffs revert to the claim that the Court already ruled on the issues implicated here during

the summary judgment stage of this case. Opp’n at 5-6. That is wrong. DFA did not move to

exclude evidence of DFA’s national organization in its summary judgment motion, nor did it

address the relevance or admissibility of that evidence at all—indeed, it had no opportunity or

reason to do so.5 DFA raised purely legal arguments at summary judgment that required no

holding from the Court as to the relevance or admissibility of any evidence that plaintiffs now

allege demonstrates DFA’s motive to suppress farmer pay prices in Order 1. Indeed, when DFA

responded to the gratuitous 81-page statement of facts that plaintiffs submitted in violation of the

Local Rules, DFA told the Court that it could “assume (solely for purposes of this motion) that all

145 of plaintiffs’ purported ‘facts’ are genuinely in dispute” because those purported “facts” had

no bearing on the purely legal arguments that DFA had made.6 Accordingly, the admissibility of


5
         Courts are clear that defendants retain their rights to challenge the admissibility of evidence
at trial irrespective of whether the Court relied upon that evidence at summary judgment. See
Compressor Eng’g Corp. v. Mfs. Fin. Corp., No. 09-14444, 2019 WL 1326035, at *4-*6 (E.D.
Mich. Mar. 25, 2019) (citing Fed. R. Civ. P. 56(c) 2010 advisory committee notes) (finding that
plaintiffs’ evidence could be considered at summary judgment and defendants did not object to the
admissibility of the evidence at the summary judgment stage as provided for under Fed. R. Civ. P
56(c)(2), but “[t]hat does not mean . . . [the] Defendants cannot object to the use of the [evidence]
at trial.”). It is the job of the Court to view the evidence in the light most favorable to the non-
movant at summary judgment and draw all inferences in plaintiffs’ favor. Fed. R. Civ. P. 56.
Because certain challenges to the admissibility of evidence—including but not limited to
challenges under Rule 403—depend upon weighing evidence in a manner at odds with the Rule
56 standards, it cannot be the case that a court’s reliance on evidence at summary judgment entirely
precludes a defendant from subsequently objecting to that evidence at trial.
6
         See DFA’s Resp. to Pl.s’ “Concise Statement of Disputed Material Facts” at 2, ECF No.
115-1 (Mar. 6, 2019).


                                                   8
         Case 2:16-cv-00287-cr Document 252 Filed 06/18/20 Page 10 of 12




evidence concerning DFA’s national organization and decision-making was never before the Court

during summary judgment, and thus, was never actually decided at that time.7

                                            CONCLUSION

      For these reasons and those set forth above, the Court should grant DFA’s motion.




7
        Raskin v. Wyatt Co., which plaintiffs cite in their brief, is inapposite. 125 F.3d 55, 66 (2d
Cir. 1997). The parties in that case contested the admissibility of a key document in their summary
judgment filings and the district court subsequently ruled on that issue as part of its Rule 56
decision. That case has no bearing on the situation here, where the admissibility of evidence at
issue here was not previously before the Court.


                                                 9
       Case 2:16-cv-00287-cr Document 252 Filed 06/18/20 Page 11 of 12




Dated: June 18, 2020                   Respectfully submitted by:

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                                     10
         Case 2:16-cv-00287-cr Document 252 Filed 06/18/20 Page 12 of 12




                               CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2020, I electronically filed with the Clerk of Court the
foregoing document using the CM/ECF system and served the below parties via email. The
CM/ECF system will provide service of such filing via Notice of Electronic Filing (NEF) to the
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